                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                            No. 5:19-cv-249-FL


MATTHEW BRADLEY,                       )
                      Plaintiff,       )
                                       )
    - against –                        )
                                       )
                                       )
ANALYTICAL GRAMMAR, INC.               )
                                       )
                                       )
                      Defendant.       )



  PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
                 MOTION FOR SUMMARY JUDGMENT




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        Plaintiff Matthew Bradley (“Plaintiff” or “Bradley”) respectfully submits this

memorandum of law in opposition to Defendant Analytical Grammar, Inc. (“Defendant”)’s

motion for summary judgment. For the reasons explained below, as well as those set forth in

Plaintiff’s motion for partial summary judgment, Defendant’s motion should be DENIED in its

entirety.


                                       INTRODUCTION

        Defendant’s motion is based on a simple flawed premise: that once a photograph is

posted to Facebook and becomes “viral,” it loses copyright protection. Defendant postulates,

through its expert, that viral memes necessarily become communal property, free for all to use,

by the very nature of their popularity. But contrary to Defendant’s position, there is no caselaw

to support the notion that intense market demand for a photograph automatically suspends the

rights accorded to copyright holders under U.S. Copyright law.

        The point of this lawsuit is that Defendant, a sophisticated publisher which operates a

Facebook business page to generate revenue for its for-profit enterprise, did not use Facebook’s

“Share” function to display the Photograph. Instead, Defendant expropriated the Photograph and

passed the work off as its own original creation. Because Defendant did not use the share

functionality provided by Facebook’s platform to display the Photograph, and did not provide

attribution to Plaintiff, Defendant should be held liable for copyright infringement.

        With respect to Defendant’s license defense, Facebook’s terms of service do not permit

Facebook users to re-publish as its own photographs uploaded by other Facebook users. Instead,

a Facebook user may only share the content of other users by displaying such content through the

share functionality provided by Facebook’s platform. The share functionality provides proper

credit to the original copyright holder and links back to the original copyright holder’s Facebook



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account. In contrast, a Facebook user may not simply re-publish a photograph and pass that

work off as its own original creation, as Defendant did in this case.

       Indeed, Defendant admits that Facebook has a “Share” function. See Defendant’s

Statement of Material Facts Nos. ¶ 13 (stating that Facebook users can control settings as to how

photographs are “shared”); ¶ 20 (referring to “Facebook’s ‘Share’ function”); ¶ 25 (referring to

“Facebook’s ‘Share’ icon”), ¶ 26 (referring to “Facebook Share function”), ¶31 (referring to

“Facebook shares”), ¶ 72 (distinguishing between Facebook shares and reposts). But Defendant

did not employ this function. Instead, it passed off the Photograph as its own creative work to

promote its corporate brand and sell its wares.

       Defendant’s argument that because the Photograph qualifies as a viral “meme” that it

somehow becomes communal property is unavailing. If anything, the popularity of an image

demonstrates the value of the work. It is precisely because of the work’s market popularity that

Bradley is entitled to demand a license fee for use by commercial entities.

       Finally, Plaintiff’s second count for DMCA violation should be sustained as Defendant

has established at least three out of four elements of his claim as a matter of law. One element,

namely Defendant’s actual knowledge that Plaintiff’s CMI had been removed or altered, presents

questions of material questions of fact remaining for trial.


                      UNCONTROVERTED STATEMENT OF FACTS

Plaintiff Matthew Bradley

       Bradley is a freelance technological consultant. [SOF1 ¶ 3] In Bradley’s free time, he

enjoys creating photographs of clever puns and posting them on social media. [SOF ¶ 2] A pun



1
 SOF shall refer to Plaintiff’s Statement Pursuant to Local Rule 56.1(a), filed concurrently
herewith.

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makes a play on the different possible meanings of a word. [SOF ¶ 3] Photographs depicting

objects used to convey a pun are also called “memes” when they become popular, i.e., “viral,” in

the context of social media. [SOF ¶ 3]

Defendant Analytical Grammar, Inc.

       Defendant is a for-profit company and sophisticated purveyor in the publishing industry.

[SOF ¶ 4] According to the curriculum vitae of Defendant’s principal owner, Erin M. Karl, the

company designs and sells literature to private schools, writes and designs market curricula, and

operates a Facebook “business page [which] has engagement in the millions.” Ms. Karl is also

“an experienced newspaper editor” and “well-versed in social media.” [SOF ¶ 5] Defendant

owns, operates and manages a Facebook page at URL

https://www.facebook.com/analyticalgrammar/ (the “Website”). [SOF ¶ 6]

Initial Publication of the “Wrong on So Many Levels” Photograph – December 8, 2017

       On December 8, 2017, Bradley created a Photograph which depicts the word “wrong”

handwritten on blue scotch tape and attached to various different carpentry levels, i.e., devices

typically used in construction projects as measuring tools (the “Photograph”). [SOF ¶ 7] In

creating the Photograph, Bradley devised the concept, arranged and positioned the carpentry

levels, and wrote the word “wrong” on scotch tape in his own handwriting. [SOF ¶ 8] Bradley

also selected the perspective, composition, angle, lighting, and camera equipment used to create

the Photograph. [SOF ¶ 8]

       After creating the Photograph, Bradley posted it to his personal Facebook account which

bears his name “Matthew Bradley” directly above where the Photograph was first displayed. The

caption he created to accompany the photo reads: “THIS IS WRONG ON SO MANY LEVELS.” The

original post is dated December 8, 2017 at 5:02 p.m. [SOF ¶ 9]




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Bradley’s Initial Registration of the Photograph – December 14, 2018

       On December 14, 2018, Bradley applied for registration of the copyright with the United

States Copyright Office (“USCO”). [SOF ¶ 10] Bradley registered the Photograph with the

Copyright Office because he observed on-line users re-posting his Photograph and passing it off

as their own work. [SOF ¶ 11] Bradley believed that his rights were violated when certain users,

whether on the Facebook platform or other platforms, re-published the Photograph to their own

accounts or websites and took credit for his original work. [SOF ¶ 11]

Editing of the Original Facebook Post – December 14, 2018

       On December 14, 2018, after registering the Photograph with the USCO, Bradley edited

his original Facebook post by superimposing text in the right hand corner of the Photograph

which reads: “copyright 2018 Matthew J. Bradley.” [SOF ¶ 12] He also superimposed the

caption “This is wrong on so many levels” over the Photograph in white block letters. [SOF ¶

12] Finally, he included the following language underneath the text of the caption:

       “please note that this picture is copyrighted. I appreciate all of you who shared it (very
       unexpectedly). Some people, however, are passing it off as their own work. I took the
       picture with my phone. This is the original photo (meme added). If you see anyone
       violating this copyright, please let me know. Thanks.” [SOF ¶ 12]


       On December 14, 2017, Bradley made other edits to the original Facebook post to include

a hyperlink to his blog. This was because the popularity of the Photograph could lead people to

visit his personal blog. [SOF ¶ 13]

Defendant’s Infringing Activity – December 16, 2017

       On December 16, 2017, eight days after the Photograph was initially published on

Bradley’s Facebook page, Defendant re-published the Photograph on its business-related




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Facebook account with the same caption that Bradley had originally associated with the

Photograph - “This is wrong on so many levels.” [SOF ¶ 14]

       Critically, Defendant did not re-share Bradley’s original Facebook Post which included

the Photograph. [SOF ¶ 14] Rather, Defendant uploaded the Photograph to its own Facebook

business account and passed off the Photograph (and associated caption) as if it was Defendant’s

own creation. [SOF ¶ 15]

       Defendant did not seek Bradley’s permission or consent to re-publish the Photograph on

its Facebook business page. [SOF ¶ 16] Bradley never granted Defendant authorization to copy

the Photograph or distribute copies of the Photograph to the public. [SOF ¶ 16]

       Prior to Defendant’s publication of the Photograph on its Facebook page, there was no

communication between Bradley and Defendant concerning the Photograph. [SOF ¶ 17] Prior to

the filing of this lawsuit, there was no communication between Bradley and Defendant

concerning the Photograph. [SOF ¶ 18]

Second Copyright Registration of the Photograph – January 3, 2019

       Bradley’s counsel, Liebowitz Law Firm, PLLC (“LLF”), enforces his rights against

copyright infringers. [SOF ¶ 16] As part of the services it provides, LLF registers photographs

with the USCO. [SOF ¶ 19] After learning that Bradley’s original copyright registration

contained an error, Bradley authorized LLF to register the Photograph with the USCO on his

behalf. [SOF ¶ 20]

       Bradley is in possession of a registration certificate for the Photograph, bearing number

VA 2-133-725, with an effective date of January 3, 2019 (the “725 Registration”). [SOF ¶ 7]

The Photograph is on deposit with the 725 Registration. [SOF ¶ 21] The Photograph is on

deposit with the 725 Registration. [SOF ¶ 22] The registration of the Photograph on behalf of




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Plaintiff was carried out in accordance with LLF’s routine practice of registering clients’

photographs with the USCO. [SOF ¶ 23]

       Bradley obtained the 725 Registration on January 3, 2019, within five years after first

publication of the Photograph, which took place on December 8, 2017. [SOF ¶ 24]

Bradley’s Efforts to Enforce the Copyright in the Photograph

       After filing for copyright registration of the Photograph, Bradley began to enforce his

copyright against infringers. [Bradley Declr. ¶ 25] On or about December 24, 2018, Bradley

retained LLF to enforce his copyright. [SOF ¶ 26]

Facebook Terms of Service

       According to Facebook’s terms of service effective as of the time this lawsuit was filed,

Bradley owns the copyright to the Photograph even after posting it to his Facebook page. [SOF

¶ 27] Although Bradley granted Facebook a license to use the Photograph, the license does not

extend to unauthorized use by Defendant because Defendant failed to share Bradley’s Facebook

Post, and instead re-created its own post under the false pretense that Defendant had created the

Photograph and its associated caption. [SOF ¶ 28]

       The terms of service that were effective as of the time Plaintiff initially published the

Photograph to Facebook provide that “When you publish content or information using the Public

setting, it means that you are allowing everyone, including people off of Facebook, to access and

use that information, and to associate it with you (i.e., your name and profile picture).” [Dkt.

#30-1, p. 2]




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                                      LEGAL STANDARD

       To obtain summary judgment, the moving party must show that there is no genuine issue

as to any material fact and that the moving party is entitled to judgment as a matter of law.

Fed.R.Civ.P. 56(a). In considering a motion for summary judgment, the Court will not “weigh

the evidence and determine the truth of the matter.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 249 (1986). Instead, the Court will draw any permissible inference from the underlying

facts in the light most favorable to the nonmoving party. Matsushita Elec. Indus. Co., Ltd. v.

Zenith Radio Corp., 475 U.S. 574, 587–88 (1986).

       The moving party bears the burden to establish the absence of a genuine issue of

material fact; it can meet that burden by identifying “pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any,” that show the

absence of dispute regarding a material fact. Fed. R. Civ. P. 56(c); Anderson, 477 U.S. at 248.

        Once that is shown, the burden falls on the non-moving party to identify specific

facts showing that there is a genuine dispute for trial. Celotex Corp. v. Catrett, 477 U.S.

317, 324 (1986). The non-moving party must show “both the materiality and the

genuineness of the alleged fact issues.” Faircloth v. United States, 837 F. Supp. 123, 126

(E.D.N.C. 1993). That burden is not met by relying on “irrelevant or unnecessary” factual

disputes; only outcome- determinative disputes “under the governing law will properly

preclude the entry of summary judgment” for the defendant. Anderson, 477 U.S. at 248.




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                                           ARGUMENT

POINT I: THE LICENSE DEFENSE FAILS AS A MATTER OF LAW

       Defendant’s second affirmative defense alleges that Defendant’s use was subject to either

an express or implied license. For the following reasons, both arguments fail.

       A.        NO EXPRESS LICENSE EXISTS UNDER FACEBOOK’S TERMS OF SERVICE

       Defendant argues that because Plaintiff posted the Photograph to his Facebook account

using the “Public” setting, that he automatically granted Defendant “an unconditional public

license to access and use the photograph.” [Answer, Dkt. #12, p. 5] But the facts do not support

this argument.

       Although Plaintiff granted a license to Facebook to use the Photograph in accordance

with Facebook’s terms of service, it did not do so to Defendant. Defendant is a separate

corporation than Facebook and does not stand in the shoes of Facebook. In short, Defendant is

not Facebook. Nor is there any evidence that Facebook sub-licensed the Photograph to

Defendant pursuant to the Facebook terms of service.

       Section 3 of Facebook’s terms of service, last revised on July 31, 2019. [SOF ¶ 27]2

provide in pertinent part as follows:

       3. The permissions you give us

       We need certain permissions from you to provide our services:

       1. Permission to use content you create and share: Some content that you share or upload, such as
       photos or videos, may be protected by intellectual property laws.

       You own the intellectual property rights (things like copyright or trademarks) in any such content
       that you create and share on Facebook and the other Facebook Company Products you use.
       Nothing in these Terms takes away the rights you have to your own content. You are free to share
       your content with anyone else, wherever you want.

       However, to provide our services we need you to give us some legal permissions (known as a

2
 Plaintiff avers that the controlling terms of service were those in effect at the time this lawsuit
was filed on June 18, 2019.

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       ‘license’) to use this content. This is solely for the purposes of providing and improving our
       Products and services as described in Section 1 above.

       Specifically, when you share, post, or upload content that is covered by intellectual property
       rights on or in connection with our Products, you grant us a non-exclusive, transferable, sub-
       licensable, royalty-free, and worldwide license to host, use, distribute, modify, run, copy, publicly
       perform or display, translate, and create derivative works of your content (consistent with your
       privacy and application settings). This means, for example, that if you share a photo on Facebook,
       you give us permission to store, copy, and share it with others (again, consistent with your
       settings) such as service providers that support our service or other Facebook Products you use.
       This license will end when your content is deleted from our systems.

       On its face, nothing in Section 3 of Facebook’s terms of service permit Facebook users to

re-publish as its own photographs uploaded by other Facebook users. Instead, a Facebook user

may only share the content of other users by displaying such content through the share

functionality provided by Facebook’s platform. The share functionality provides proper credit to

the original copyright holder and links back to the original copyright holder’s Facebook account.

In contrast, a Facebook user may not simply re-publish a photograph and pass that work off as its

own original creation, as Defendant did in this case.

       Defendant admits that Facebook has a share function. See Defendant’s Statement of

Material Facts Nos. ¶ 13 (stating that Facebook users can control settings as to how photographs

are “shared”); ¶ 20 (referring to “Facebook’s ‘Share’ function”); ¶ 25 (referring to “Facebook’s

‘Share’ icon”), ¶ 26 (referring to “Facebook Share function”), ¶31 (referring to “Facebook

shares”), ¶ 72 (distinguishing between Facebook shares and reposts);

       However, Defendant did not use the share functionality provided by Facebook’s platform

to display the Photograph, but instead re-published the Photograph as if it was Defendant’s own

original work. Accordingly, Defendant’s license defense must fail.

       To the extent Defendant relies on previous iterations of Facebook’s terms of service

which were in effect as of the time the Photograph was initially published, the result is no

different. Under the terms that were in effect prior to April 2018, Facebook users granted



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Facebook “a non-exclusive, transferable, sub-licensable, royalty-free, worldwide license to use

any IP content that you post on or in connection with Facebook.” Once again, it was Facebook,

rather than Defendant, which was the beneficiary of that license. [Dkt. #30-1, p. 2] Defendant

cannot simply pretend to be Facebook and claim that its use was authorized. And there is no

record evidence that Facebook actually sub-licensed the Photograph to Defendant.

       Defendant’s license defense primarily relies on a single phrase from Facebook’s obsolete

terms of service which provided that: “When you publish content or information using the Public

setting, it means that you are allowing everyone, including people off of Facebook, to access and

use that information, and to associate it with you (i.e., your name and profile picture).”

(underline added). [Dkt. #30-1, p. 2] However, Defendant’s license defense fails even under

these terms.

       First, when Defendant re-published the Photograph on its Facebook business page, it

failed to associate the Photograph with Plaintiff’s name and profile picture. [SOF ¶14] Had

Defendant utilized Facebook’s sharing functionality, as thousands of other users did after

Plaintiff initially published the Photograph, then it would have been authorized to display the

Photograph on its Facebook page. But that’s not what Defendant did. Instead, Defendant re-

published the Photograph on its page and failed to associate the Photograph with Bradley’s

account. [SOF ¶14] Such use was not within the scope of the Facebook’s obsolete terms of

service.

           Second, the outdated provision upon which Defendant relies is ambiguous as to whether

it actually covers photographs. The first part of this provision refers to “content and

information” but the second part only refers to “information.” The second part is more critical

because it says that everyone has a right “to access and use that information.” (italics).




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Plaintiff’s Photograph does not qualify as “information” and is therefore outside the scope of this

obsolete provision.

       B.      THERE IS NO EVIDENCE TO SUPPORT AN IMPLIED LICENSE

       It is undisputed that there was never any communication between Plaintiff and Defendant

before the alleged infringement took place. [SOF ¶17] Nonetheless, Defendant argues that it had

an implied license to use the Photograph.

       An implied non-exclusive license should be found only in narrow circumstances where

one party created a work at the other’s request and handed it over intending that the other copy

and distribute it. ABKCO Music, Inc. v. Sagan, No. 15 CIV. 4025 (ER), 2018 WL 1746564, at

*18 (S.D.N.Y. Apr. 9, 2018) (quotations omitted and collecting cases); see also I.A.E., Inc. v.

Shaver, 74 F.3d 768, 776 (7th Cir. 1996) (finding an implied license where: “(1) a person (the

licensee) requests the creation of a work, (2) the creator (the licensor) makes that particular work

and delivers it to the licensee who requested it, and (3) the licensor intends that the licensee-

requestor copy and distribute his work”). Ultimately, “the question comes down to whether there

was a ‘meeting of the minds’ between the parties to permit the particular usage at

issue.” Psihoyos v. Pearson Educ., Inc., 855 F. Supp. 2d at 124 (quotation marks and citations

omitted); see also Design Options Inc. v. BellePointe, Inc., 940 F.Supp. 86, 92 (S.D.N.Y 1996)

(holding that there must be evidence that “both parties to the transaction, not just the defendant,

intended that the defendant could use or copy the plaintiff’s work without liability

for copyright infringement”). No matter what standard applies here, Defendant cannot

reasonably argue the existence of an implied license.

       First, the Photograph was not created on behalf of the Defendant, nor delivered to the

Defendant with the intention of copying and distribution. Indeed, there was never any




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communication between Plaintiff and Defendant before the alleged infringement took place.

[SOF ¶17] Defendant acknowledges that “direct business dealings” must exist for an implied

license to be found. [Dkt. #27, p. 17 of 39] But Defendant and Plaintiff had no direct business

dealings prior to the infringement. [SOF ¶17] As such, nothing in the record supports the claim

of an implied license.

       Second, Defendant argues that Plaintiff manifested an intent “that the Photograph be seen

and shared without restriction” and that he celebrated “Facebook users clicking the ‘Share’ icon”

[Dkt. #27, p. 17 of 39] But the crux of Plaintiff’s complaint is that Defendant failed to utilize

Facebook’s Share function; instead, it expropriated the Photograph without giving Plaintiff any

credit and passed the work off as if Defendant itself had created it. [SOF ¶15] Such

unauthorized use constitutes infringement plain and simple.

       Third, Defendant argues that an implied license should be constructed by the Court by

reference to Facebook’s express terms. In other words, because Defendant has failed to show the

existence of an express license under Facebook’s terms of service, it asks the Court to re-write

Facebook’s terms of service as a means to find an implied license. However, “[c]ourts should be

extremely reluctant, . . . to imply a term that the parties have neglected to specifically include.”

In re World Trade Ctr. Disaster Site Litig., 2014 WL 2565821, at *6 (2d Cir. June 9, 2014)

(citations and internal quotations omitted); Bank of New York Mellon Tr. Co. v. Morgan Stanley

Mortg. Capital, Inc., 821 F.3d 297, 307 (2d Cir. 2016) (courts are “not free to rewrite into

a contract conditions the parties did not insert by adding or excising terms under the guise of

construction.”); see also Moses v. Apple Hosp. REIT Inc., No. 14-CV-3131 DLISMG, 2016 WL

8711089, at *6 (E.D.N.Y. Sept. 30, 2016) (“[W]e have stated on a number of occasions that we




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do not rewrite contracts to insert provisions that have been omitted by the parties.”).

Accordingly, this argument should be rejected.

         Fourth, Defendant asks the Court to find an implied license based on the widespread

“custom” of internet users who steal or otherwise freely share viral photographs on-line

(bolstered by an expert opinion who encourages such theft). Plaintiff does not deny that there is

rampant intellectual property theft on the internet, but that does not mean the Court should cast

the Copyright Act by the wayside. The exclusive rights accorded to copyright holders are

secured by the U.S. Constitution and by Congress and cannot simply be ignored based on some

widespread custom of violating photographer’s rights. This argument fails.

         Finally, the fact that other third-party infringers may have used Plaintiff’s Photograph in

other platforms, even with Plaintiff’s knowledge, does not absolve Defendant of its infringing

conduct in this case.

         In sum, Defendant cannot meet its burden for the affirmative defense of a license, express

or implied. Accordingly, this affirmative defense fails and Defendant’s motion should be denied.


POINT III:      THE FAIR USE DEFENSE FAILS AS A MATTER OF LAW

         Defendant’s sixth affirmative defense alleges fair use. A court “may conclude as a matter

of law that the challenged use does not qualify as a fair use of the copyrighted work.” Harper &

Row v. Nation Enterprises, 471 U.S. 539, 560 (1985). Thus, the Court may grant summary

judgment dismissing the fair use defense. See, e.g., Stewart v. Abend, 495 U.S. 207 (1990);

Castle Rock, 150 F.3d at 137; Otto at *12. As set forth below, examination of the statutory

factors demonstrates that Defendant’s secondary use of the Photograph does not constitute fair

use.3


3
    Section 107 of the Copyright Act sets out four factors to consider in determining whether a

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A.     THE FIRST FACTOR WEIGHS HEAVILY AGAINST FAIR USE

       The first factor under 17 U.S.C. § 107(1), which addresses the manner in which the

copied work is used, is the “heart of the fair use inquiry.” Blanch v. Koons, 467 F.3d 244, 251

(2d Cir. 2006). Courts examine at least two sub-factors to determine the purpose and character

of use, including whether the secondary use is (1) transformative; and (2) for commercial

purposes. See NXIVM Corp. v. Ross Inst., 364 F.3d 471, 478 (2d Cir. 2004).

(1)    Defendant’s Secondary Use is NOT Transformative

       The fair use doctrine “allows for new transformative works that further the public

discourse and the free exchange of ideas in order to promote science and the arts.” See Campbell

v. Acuff– Rose Music, Inc., 510 U.S. 569, 579 (1994). The central purpose of the inquiry is to

determine whether “the new work merely supersedes the objects of the original creation, or

instead adds something new, with a further purpose or different character, altering the first with

new expression, meaning, or message.” Ringgold v. Black Entertainment Television, Inc., 126

3d 70, 79 (2d Cir. 1997) (citations omitted).

       “[U]se of copyrighted material that ‘merely repackages or republishes the original is

unlikely to be deemed a fair use’ and a ‘change of format, though useful’ is not transformative.”

Associated Press v. Meltwater U.S. Holdings, 931 F.Supp.2d 537, 551 (S.D.N.Y. 2013) (quoting

Infinity Broadcast Corp. v. Kirkwood, 150 F.3d 104, 108 & n. 2 (2d Cir. 1998) (citation

omitted)).




defendant’s use of a copyrighted work is a fair use. These are “(1) the purpose and character of
the use, including whether such use is of a commercial nature or is for nonprofit educational
purposes; (2) the nature of the copyrighted work; (3) the amount and substantiality of the portion
used in relation to the copyrighted work as a whole; and (4) the effect of the use upon the
potential market for or value of the copyrighted work.” 17 U.S.C. § 107.

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       Here, Defendant’s use was not transformative because Defendant did nothing more that

re-publish the original Photograph and its associated caption. Defendant did not offer any

commentary or criticism directed at the Photograph, nor re-contextualize the Photograph by

imparting new meaning. Defendant did not report on a political or social controversy that

arose because of the very existence of the Photograph itself. Nor did Defendant transform the

original purpose of use or message behind the Photograph. Defendant merely used the

Photograph in the exact same manner as Plaintiff. [SOF ¶ 14]

       A secondary use has “no transformative effect [where the article] display[s] the Images

in the same manner and for the same purpose as they were originally intended to be used.”

Barcroft Media, Ltd. v. Coed Media Group, LLC, No. 16-cv-7634 (JMF), 2017 WL 5032993,

*6 (S.D.N.Y. Nov. 2, 2017); see also Psihoyos, 1998 WL 336655 at *3 (rejecting fair use

defense where purpose of secondary use was to display it “for precisely a central purpose for

which it was created”).

       “Display of a copyrighted image or video may be transformative where the use serves

to illustrate criticism, commentary, or a news story about that work.” Barcroft, 2017 WL

5032993, at *6; see also BWP Media USA Inc. v. Gossip Cop Media, Inc., 196 F.Supp.3d 395,

404-405 (S.D.N.Y. 2016) (not transformative where the secondary use of “photograph seems

intended as a general illustration of the [celebrity] couple . . . [and] Defendant [does not]

comment or report on the images in question . . .); Hirsch v. Complex Media, Inc., No. 18-cv-

5488 (CM), 2018 WL 6985227, at *6 (S.D.N.Y., December 10, 2018) (“Complex has not

established that its Video did anything more than merely describe the subject of Hirsch’s

Photograph, newsworthy or not. That conduct alone does not suffice as transformative.”);

Psihoyos v. National Examiner, 1998 WL 336655, *3 (S.D.N.Y. June 22, 1998) (defendant’s




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“use is not transformative, because its piece uses the photo to show what it depicts.”); Otto,

2018 WL 6510801, *8 (“It would be antithetical to the purposes of copyright protection to

allow media companies to steal personal images and benefit from the fair use defense by

simply inserting the photo in an article which only recites factual information—much of which

can be gleaned from the photograph itself.”).

       Here, like the cases in Associated Press, Otto, Barcroft, Gossip Cop, and Psihoyos where

fair use was rejected, Defendant used the Photograph to merely illustrate the subject matter

depicted in the image. [SOF ¶ 14] On its face, Defendant’s republication of the Photograph on

its Facebook business account is essentially identical to Plaintiff’s initial publication.

Defendant’s re-post is nothing more than a wholesale reproduction of the Photograph and

associated caption, without adding any additional commentary or criticism whatsoever [SOF ¶

14]. Accordingly, there can be no transformative effect as a matter of law.

                                                                       .
(2)    Defendant’s Use is Commercial Rather Than Non-Profit

       The fact that Defendant used the Photograph for a commercial rather than a non-profit

purpose also weighs against a finding of fair use. Psihoyos, 1198 WL 336655, at *3 (citing

Campbell, 510 U.S. at 583-84). The “crux of the profit/nonprofit distinction is . . . whether the

user stands to profit from the exploitation of the copyrighted material without paying the

customary price.” Harper & Row, 471 U.S. at 562.

       Here, there can be no dispute that Defendant is a for-profit corporate publisher which

disseminates content on its Facebook business page in order to generate revenue for its owner,

Erin Karl. [SOF, ¶¶ 4-5] Contrary to Defendant’s assertions that the secondary use was

“educational,” Defendant was plainly attempting to pass of Plaintiff’s work as its own to drum




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up business. Accordingly, Defendant sought to profit from Bradley’s copyright without

paying the customary price.

       Defendant’s argument that no customary price exists for “viral memes” by virtue of

widespread intellectual property theft is unavailing. “[I]n situations where the infringer could

have bargained with the copyright owner to purchase the right to use the work, actual damages

are what a willing buyer would have been reasonably required to pay to a willing seller for

plaintiffs’ work.’” Jarvis v. K2 Inc., 486 F.3d 526, 533 (9th Cir.2007).

       Defendant’s notion that a custom has evolved of stealing photographs on-line once

such photographs become popular does not mean that Plaintiff could not have charged a $50

fee. Bradley was certainly a willing seller. The only reason Defendant was not a willing

buyer was because it elected to expropriate for free, thereby saving itself the time and expense

of creating its own Photograph. Such conduct does not qualify as fair use. Psihoyos v. Nat'l

Exam'r, No. 97 CIV. 7624 (JSM), 1998 WL 336655, at *4 (S.D.N.Y. June 22, 1998) (“the

Examiner was simply using the Psihoyos' photo to save itself the expense of obtaining its own

photo”).

B.     T H E S EC O N D F A C TO R W EIG H S A G A IN ST F A IR U SE

       The second factor examines the “nature of the copyrighted work.” 17 U.S.C. § 107(2).

Courts consider “(1) whether the work if expressive or creative, with a greater leeway being

allowed a claim of fair use where the work is factual or information, and (2) whether the work if

published or unpublished.” Blanch, 467 F.3d at 256. “Photographic images of actual people,

places and events may be as creative and deserving of protection as purely fanciful creations.”

Monster Communications, Inc. v. Turner Broadcasting, 935 F.Supp. 490, 494 (S.D.N.Y. 1996).




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        Here, the Photograph is creative in nature, given that Bradley devised the concept,

arranged and positioned the carpentry levels, and wrote the word “wrong” on the scotch tape in

his own handwriting. [SOF ¶ 8] Bradley also selected the perspective, composition, angle,

lighting, and camera equipment used to create the Photograph. [SOF ¶ 8] Accordingly, even

though the Photograph was published, this factor weighs against fair use because the

Photograph is creative in nature.

       Defendant’s argument that Plaintiff had no commercial aspirations for the Photograph at

the time it was created is unavailing. Once a photograph becomes popular, the copyright holder

is entitled to enter the market and realize the fruits of his labor. Otto, 345 F. Supp. 3d at 432.

C.     THE THIRD FACTOR WEIGHS AGAINST FAIR USE BECAUSE DEFENDANT
       PUBLISHED A FULL-COLOR, FULL-SCALE REPRODUCTIONS OF THE IMAGE
       WITHOUT ALTERATION

       The third factor bearing on fair use is “the amount and substantiality of the portion used

in relation to the copyrighted work as a whole.” 17 U.S.C. § 107(3). The question is whether

“the quantity and value of the materials used are reasonable in relation to the purpose of the

copying.” Campbell, 510 U.S. at 586. The Court should consider whether the portion taken is

“essentially the heart” of the copyrighted expression. NXIVM Corp., 364 F.3d at 480 (citation

omitted). The “most relevant” question for this factor is whether the infringer has taken “no

more” than is necessary. Infinity Broadcast Corp., 150 F.3d at 110. “[T]he more of a

copyrighted work that is taken, the less likely the use is to be fair.” Id. at 109.

       As a quantitative matter, Defendant has taken the entire full-color Photograph and

displayed it in full-scale. [SOF ¶ 14] This fact alone weighs against fair use. See Associated

Press, 931 F.Supp.2d at 558 (“appropriation of a copyrighted work in its entirety weighs

against a finding of fair use”).




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       As a qualitative matter, Defendant has used more of the copyrighted work than was

necessary to accomplish its purpose. See Rogers, 960 F.2d at 311. The Photograph was

reproduced by Defendant in full-color without any visible modification, cropping or alteration.

[SOF ¶ 14] Defendant’s wholesale reproduction of the Photograph, without any aesthetic

alteration, demonstrates the work’s qualitative value. See Harper & Row, 471 U.S. at 565 (“the

fact that a substantial portion of the infringing work was copied verbatim is evidence of the

qualitative value of the copied material, both to the originator and to the plagiarist who seeks to

profit from marketing someone else's copyrighted expression.”).

       Defendant argues that Plaintiff welcomed widespread publication of his Photograph.

But with respect to Facebook, Plaintiff did not welcome other users such as Defendant who

passed his work off as its own, rather than using Facebook’s share functionality.

D.     THE FOURTH FACTOR WEIGHS AGAINST FAIR USE BECAUSE MARKET HARM MAY
       BE PRESUMED AS A MATTER OF LAW

       The final fair use factor considers “the effect of the use upon the potential market for or

value of the copyrighted work.” 17 U.S.C. § 107(4). This factor “requires courts to consider not

only the extent of market harm caused by the particular actions of the alleged infringer, but also

whether unrestricted and widespread conduct of the sort engaged in by the defendant would

result in a substantially adverse impact on the potential market for the original.” Ringgold, 126

F.3d at 80-81 (citing Campbell, 510 U.S. at 590 (quotation omitted)).

       As a threshold matter, the Court may presume market harm because Defendant’s

secondary use constituted a mere duplication of Bradley’s original photograph. See Sony

Corp. of America v. Universal City Studios, Inc., 464 U.S. 417, 450 (1984) (holding that

“every commercial use of copyrighted material is presumptively an unfair exploitation of the

monopoly privilege that belongs to the owner of the copyright”). “A presumption of market


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harm “makes common sense[ ] when a commercial use amounts to mere duplication of the

entirety of an original.” Campbell, 510 U.S. at 591.

       Further, under Sony, “there is a presumption of market harm [where] Defendant’s use of

[] photographs were not transformative.” Ferdman v. CBS Interactive, Inc., 17-cv-1317 (PGG),

2018 WL 4572241, *19 (S.D.N.Y. Sept. 21, 2018). Here, because Defendant’s use constituted a

mere duplication of Plaintiff’s unaltered Photograph and was wholly untransformative, Sony’s

presumption of market harm applies.

       Defendant’s secondary use also impairs the potential market for the Photograph because

“unrestricted and widespread conduct of the sort engaged in by the defendant . . . would result in

the substantially adverse impact on the potential market for [licensing of] the original.”

Campbell, 510 U.S. at 590 (internal quotation omitted). “Under section 107, ‘potential market’

means either an immediate or a delayed market, and includes harm to derivative works.”

Cable/Home Commc'n Corp. v. Network Prods., Inc., 902 F.2d 829, 845 (11th Cir.1990).

       Here, Bradley is entitled to profit from the market demand generated by initial

publication of his Photograph. See 17 U.S.C. § 106. But because Defendant engaged in

wholesale copying of the Photograph, any authorized market for the original work was severely

diminished. The record shows that once Bradley discovered in December 2018 that his work

was being expropriated and that he was not being properly credited for his creation, he took steps

to realize the value of the work. First, he copyrighted the Photograph with the Copyright Office.

[SOF ¶¶ 10-11] Next, he sought compensation on his own behalf from third-party infringers.

[SOF ¶ 25] Finally, he sought competent counsel to prosecute claims on his behalf in federal

court. [SOF ¶ 26]




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       This case is therefore similar to Otto v. Hearst, where the court determined in analyzing

the fourth factor that an amateur photographer had a right to monetize his work after discovering

its market popularity.

       It is clear from Otto’s communications with TMZ and Burke the morning after the
       wedding that he did have an interest in entering the market upon realizing the value of his
       work. The creator of a work should not be precluded from future profits should they lack
       the marketing prowess to capitalize on their work at the time of creation. Duncan, 744
       F.2d at 1496 (“Copyrights protect owners who immediately market a work no more
       stringently than owners who delay before entering the market.”). Otto’s status as an
       amateur photographer with an iPhone does not limit his right to engage in sales of his
       work.

       Otto, 345 F. Supp. 3d at 432.

       In this case, the fact that Plaintiff, an amateur photographer, waited a year after initial

publication before taking steps to enforce his copyright does not shield Defendant from liability.

Defendant is a for-profit publisher, and a sophisticated purveyor in the industry, which sought to

capitalize on Plaintiff’s work by promoting the Photograph on its Facebook business page. [SOF

¶¶ 4-5] This was not “educational” use as Defendant claims. Defendant was using the

Photograph to generate interest about its corporate brand and garner revenues for itself. For that

reason, the fourth factor weighs against fair use.

       Defendant once again rests on the notion that because the Photograph qualifies as a “viral

meme”, any internet user can freely re-publish it, including corporate publishers such as

Defendant who are trying to promote its brand to sell its wares. But the Copyright Act does not

carve out exceptions for viral memes. The fact that most internet users would prefer to get stuff

for free on-line doesn’t make it free. After all, apples are a very popular type of fruit that

literally grow on trees, but that doesn’t mean consumers can eat them for free just because they

are made widely available in the marketplace.




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         In sum, all four factors weigh heavily against Defendant and thus the sixth affirmative

defense of fair use dense should be dismissed as a matter of law.


POINT IV:      DEFENDANT’S COPYRIGHT MISUSE CLAIM FAILS

       The Fourth Circuit recognizes a defense of copyright misuse where the “attempted use of

a copyright [is] to violate antitrust law” or where “the copyright is being used in a manner

violative of the public policy embodied in the grant of a copyright.” Lasercomb Am., Inc. v.

Reynolds, 911 F.2d 970, 976 (4th Cir. 1990). However, “market power does not ‘impose on the

intellectual property owner an obligation to license the use of that property to others.’”

Intergraph Corp. v. Intel Corp., 195 F.3d 1346, 1362 (Fed.Cir.1999) (quoting United States

Dep't of Justice & Fed. Trade Comm'n, Antitrust Guidelines for the Licensing of Intellectual

Property 4 (1995)).

       Here, there is no evidence that Plaintiff’s attempt to realize the value of his work violated

anti-trust law. Plaintiff has not attempted to monopolize any market demand for the Photograph.

Rather, Bradley registered the Photograph with the Copyright Office because he observed on-

line users re-posting his Photograph and passing it off as their own work. Bradley believed that

his rights were violated when certain users, whether on the Facebook platform or outside, re-

published the Photograph to their own accounts or websites and took credit for his original work.

[SOF 15]

       Defendant argues that Plaintiff committed copyright misuse on a theory of “entrapment,”

namely that “Bradley publicly posted a meme on Facebook and permitted free reposting, but

then sued Analytical for reposting it.” [Dkt. #27, p. 30 of 39] But Plaintiff never permitted free

“reposting”; he only permitted sharing via Facebook’s share function. Once again, had

Defendant simply employed Facebook’s sharing functionality and re-shared Plaintiff’s



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Photograph as thousands of other Facebook users had done, this lawsuit would never have been

filed. But because Defendant displayed the Photograph on its commercial webpage without

giving Plaintiff proper credit in an attempt to pass off Plaintiff’s work as Defendant’s own

original creation, Defendant must be held liable for copyright infringement.

         Likewise, the equitable estoppel defense fails. Defendant claims that it “justifiably relied

on shared norms of meme use” when it re-posted the Photograph and passed it off as it own

creation, rather than using Facebook’s share functionality to attribute Bradley and link back to

his Facebook account. But it’s the Facebook terms of service which are controlling, not some

widespread custom of intellectual property theft. And by operating outside of Facebook’s terms

of service, Defendant violated Bradley’s rights to the Photograph. Sharing and giving proper

credit is one thing, stealing and passing off is quite something else.


POINT V:        PLAINTIFF HAS A CONSTITUTIONAL RIGHT TO A JURY TRIAL ON
                THE ISSUE OF DAMAGES


         Defendant argues that Plaintiff is barred from monetary recovery because he did not

present documentary evidence of market loss during the discovery period. However, pursuant to

U.S. Supreme Court law, a copyright holder is not required to show any damages to sustain his

claim:

         The existence of damages suffered is not an essential element of a claim for copyright
         infringement. See Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361, 111
         S.Ct. 1282, 113 L.Ed.2d 358 (1991) (to establish a prima facie case of copyright
         infringement, “two elements must be proven: (1) ownership of a valid copyright, and (2)
         copying of constituent elements of the work that are original”); 4 Melville B. Nimmer &
         David Nimmer, NIMMER ON COPYRIGHT § 13.01, at 13–6 *159 (1999) (“Notably absent
         from this formulation of the prima facie case is damage or any harm to [the] plaintiff
         resulting from the infringement.”).

         Davis, 246 F.3d at 158 (boldface added).




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        Indeed, federal courts have consistently held that pecuniary harm is not a prerequisite to

sustaining a copyright infringement claim. See, e.g., Cardiff Chamber of Commerce, Inc. v.

Lebherz, 2016 WL 9525236, at *2 (S.D. Cal. July 15, 2016) (“[t]he harm is the invasion of the

copyright; no financial loss is required.”); eSilicon Corp v. Silicon Space Tech, No. C-11-06184

EDL, 2013 WL 12174295, at *10 (N.D. Cal. Feb. 22, 2013) (“Damages . . . are not a

required element of a prima facie case of copyright infringement claim”); In re Aimster

Copyright Litig., 334 F.3d 643, 649 (7th Cir. 2003) (“[A] copyright owner who can prove

infringement need not show that the infringement caused him a financial loss.”); Marobie-FL,

Inc. v. Nat'l Ass'n of Fire Equip. Distributors, No. 96 C 2966, 2002 WL 226864, at *2 (N.D. Ill.

Feb. 13, 2002) (“The existence of damages suffered is not an essential element of a claim

for copyright infringement”).

        The copyright holder’s right to be free from unauthorized copying of his protected works

is precisely the type of interest that Congress may define as a judicially enforceable right,

irrespective of any pecuniary interest. Further, “[n]one of the enumerated rights in 17 U.S.C. §

106 includes the right to economic benefits.” Westmorland v. Westmorland, No. C07-1435

(MJP), 2007 WL 4358309, at *2 (W.D. Wash. Dec. 10, 2007). Rather, these bundle of rights

involve the copyright holder’s statutory prerogative to control how, when and where his works

are distributed to the public. See Pearson Educ., Inc. v. Liu, 656 F. Supp. 2d 407, 409 (S.D.N.Y.

2009) (“In contrast to the core copyright rights of reproduction and adaptation, the distribution

right is a right to control use . . . . It primarily protects a copyright owner’s ability to control the




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terms on which her work enters the market by providing a remedy against persons who distribute

copies of her work without permission.”).4

       With respect to the amount of damages to be awarded, the Supreme Court holds that the

jury is to decide that question in copyright cases. Feltner v. Columbia Pictures TV, 523 U.S.

340, 355, 118 S.Ct. 1279, 140 L.Ed.2d 438 (1998); see also Superior Form Builders, Inc. v. Dan

Chase Taxidermy Supply Co., 1A F.3d 488, 496 (4th Cir.1996) (jury’s award is entitled to

significant deference). Defendant concedes that Plaintiff demanded $50 for use of the

Photograph. Simply because Plaintiff does not have further documentary evidence to support

market value does not mean that the Photograph has no value. The jury should be entitled to

decide the question.


POINT VI:      QUESTIONS OF DISPUTED MATERIAL FACT PRECLUDE SUMMARY
               DISPOSITION OF PLAINTIFF’S DMCA CLAIM


       Defendant seeks dismissal of Plaintiff’s second cause of action for Defendant’s violation

of section 1202(b)(3) of the DMCA, which prohibits the alteration of Copyright Management

Information (“CMI”), which is defined in part as identifying information about the author of a

work “conveyed in connection with” the work. 17 U.S.C. § 1202(c).

       To establish a DMCA claim pursuant to 17 U.S.C § 1202(b)(3), a plaintiff must establish:

“(1) the existence of CMI on the infringed work; (2) distribution of the infringed work

containing missing and/or altered CMI; (3) that the distribution was done knowing that the CMI

was removed and/or altered without permission; and (4) that the distribution was done knowing


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  Accord Strauss v. Hearst Corp., No. 85 CIV 10017 (CSH), 1988 WL 18932, at *10 (S.D.N.Y.
Feb. 19, 1988) (recognizing that “‘unjust enrichment’ is the injury that all copyright holders
suffer in the event that their exclusive rights to control the reproduction and display of their
works are transgressed”)


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that it would induce, enable, facilitate, or conceal an infringement.” Mango v. BuzzFeed, Inc.,

356 F. Supp. 3d 368, 377 (S.D.N.Y. 2019).

       Further, with respect to the double scienter requirement embodied in the third and fourth

elements of a section 1202(b)(3) claim, the third element require a showing of actual knowledge,

whereas the fourth element only requires a showing of constructive knowledge. Mango, 356 F.

Supp. 3d at 377 (“The last paragraph of section 1202(b) makes clear what plaintiffs may prove

only by constructive knowledge: knowledge that the alteration, removal, or distribution induces,

enables, facilitates, or conceals infringement. See 17 U.S.C. § 1202(b). However, the three

numbered subparts prohibiting alteration, removal, and distribution require plaintiffs to prove

actual knowledge of the alteration or removal of CMI itself”); see also Janik v. SMG Media, Inc.,

No. 16-civ-7308-JGK-AJP, 2018 WL 345111, at *12 (S.D.N.Y. Jan. 10, 2018).

       With respect to the first element, Plaintiff readily establishes “the existence of CMI on

the infringed work.” Mango, 356 F. Supp. 3d at 377.

       The DMCA defines CMI as “any of the following information conveyed in connection

with copies . . . of a work or performances or displays of a work, including in digital form”:

   (1) The title and other information identifying the work, including the information set forth
       on a notice of copyright.

   (2) The name of, and other identifying information about, the author of a work.

   (3) The name of, and other identifying information about, the copyright owner of the work,
       including the information set forth in a notice of copyright.

17 U.S.C. § 1202(c).

       “The CMI must be attached to, depicted in, or broadly ‘conveyed in connection’ with a

copyrighted or copyrightable ‘work.’ Fischer v. Forrest, 286 F. Supp. 3d 590, 608–09 (S.D.N.Y.

2019) (citing 17 U.S.C. §1202(c)). “CMI exists to inform the public that a work is copyrighted




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and by whom.” Id.; see also Pers. Keepsakes, Inc. v. Personaliziationmall.com, Inc., No. 11-CV-

5177, 2012 WL 414803, at *6 (N.D. Ill. Feb. 8, 2012) (“[T]he point of CMI is to inform the

public that something is copyrighted and to prevent infringement.”).

       Courts consistently held that photographs which are published in connection with the

name of the photographer constitutes CMI under the statute. See, e.g., Mango, 356 F. Supp3d at

377 (determining that a “gutter credit” under the photograph qualified as CMI); Hirsch v. CBS

Broad. Inc., No. 17 CIV. 1860 (PAE), 2017 WL 3393845, at *8 (S.D.N.Y. Aug. 4, 2017) (same);

Agence France Presse v. Morel, 769 F. Supp.2d 295, 305–06 (S.D.N.Y. 2011) (finding credit

lines fall within the scope of CMI under the plain language of the statute); Janik, 2018 WL

345111, at *12 (finding name on a contact sheet to qualify as CMI); see also Murphy v.

Millennium Radio Grp. LLC, 650 F.3d 295, 305 (3d Cir. 2011) (determining that a “gutter credit”

under the photograph qualified as CMI).

       Here, there can no dispute that the Photograph as originally displayed by Bradley

contains qualifying CMI, i.e., the name of the photographer adjacent to the photograph. [SOF ¶

9] Defendant argues that Bradley’s name shown directly above the Photograph does not qualify

as CMI because his name is not watermarked (i.e., superimposed over) the Photograph, or

because his name does not appear in the metadata. But as the above caselaw authorities show,

Plaintiff’s name need only be conveyed in connection with or adjacent to the Photograph, as is

the case here.

       With respect to the second element, Plaintiff has established “distribution of the infringed

work containing . . . altered CMI.” Mango, 356 F. Supp. 3d at 377. Here, Defendant re-

published the Photograph on its business Facebook page without any attribution to Plaintiff.

[SOF ¶ 15] Accordingly, Plaintiff has satisfied the second element




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        Under the third element of a section 1202(b)(3) claim, Plaintiff is required to show that

Defendant distributed the Photograph with actual knowledge that Plaintiff’s CMI had been

altered. Mango, 356 F. Supp. 3d at 377; Morel, 769 F. Supp. 2d at 305. The third element

requires a showing of actual knowledge. Mango, 356 F. Supp. 3d at 377. Actual knowledge may

be proven by direct evidence, circumstantial evidence, or a combination of the two. See Desert

Palace, Inc. v. Costa, 539 U.S. 90, 100, 123 S.Ct. 2148, 156 L.Ed.2d 84 (2003). “The reason for

treating circumstantial and direct evidence alike is both clear and deep rooted: ‘Circumstantial

evidence is not only sufficient, but may also be more certain, satisfying and persuasive than

direct evidence.’” Id. (quoting Rogers v. Missouri Pacific R. Co., 352 U.S. 500, 508, n. 17, 77

S.Ct. 443, 1 L.Ed.2d 493 (1957)). Here, Defendant knew that it did not create the Photograph

and yet passed it off as its own work. [SOF ¶ 15] Such evidence creates a question of material

fact for trial as to the third element thereby precluding summary judgment.

        With respect to the fourth element of a section 1202(b)(3) claim, Plaintiff is required to

show that Defendant distributed the Photograph with reasonable grounds to know (i.e.,

constructive knowledge) that alteration of the CMI would “induce, enable, facilitate, or conceal

an infringement.” Mango, 356 F. Supp. 3d at 377. This element is ordinarily reserved for trial.

See,e.g., Friedman v. Live Merchandise, Inc., 833 F.3d 1180, 1187-89 (9th Cir. 2016) (finding

that trier of fact can infer knowledge required under § 1202(b)(3) from evidence that defendant

reproduced plaintiff’s image without CMI after gaining access to those images with

CMI); Boatman v. United States Racquetball Ass’n, 33 F.Supp.3d 1264, 1276 (D. Colo. 2014)

(same); see also Meijer, Inc. v. Ferring B.V. (In re DDAVP Direct Purchaser Antitrust

Litig.), 585 F.3d 677, 692–93 (2d Cir.2009) (reversing the district court’s grant of a motion to

dismiss because “scienter issues . . . . are appropriate for resolution by the trier of fact”).




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       Indeed, “whenever state of mind is at issue, direct proof of one’s specific wrongful intent

is rarely available and so recourse to circumstantial evidence is most often necessary.”

Friedman, 833 F.3d at 1189. In Friedman, 833 F.3d at 1189, the Ninth Circuit sustained a

DMCA claim under section 1202 on grounds that a reasonable jury could infer from

circumstantial evidence that defendant Live Nation, who was sophisticated about copyright law,

knew that its distribution of photographs would facilitate or enable infringement.

       In the context of U.S. Copyright law, courts routinely impose constructive knowledge on

sophisticated purveyors of copyrighted materials. See, e.g., Mango, 356 F. Supp. 3d at 373–74

(imposing liability under section 1203(b)(3) where Buzzfeed’s reporter was a “veteran” who was

“familiar with the importance of obtaining permission to use photographs and the use of gutter

credits”); Minden Pictures, Inc. v. Buzzfeed, Inc., 390 F. Supp. 3d 461 (S.D.N.Y. 2019) (noting

that “[c]ourts may consider the relative sophistication of parties in a copyright suit” and

imposing constructive knowledge on a sophisticated plaintiff with experience in litigating

copyright cases in the context of the discovery rule); Castle Rock Entm't v. Carol Publ’g Group,

Inc., 955 F.Supp. 260 (S.D.N.Y. 1997) (Sotomayor, D.J.), aff’d, 150 F.3d 132 (2d Cir.

1998) (district court finding willful infringement because, inter alia, the “defendants are

sophisticated with respect to such matters”).5

       Here, the evidence shows that Defendant is a for-profit company and sophisticated

purveyor in the publishing industry. [SOF ¶ 4] According to the curriculum vitae of Defendant’s

principal owner, Erin M. Karl, the company designs and sells literature to private schools, writes


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  Accord Viacom, Int'l Inc. v. Fanzine Int'l, Inc., 98 Civ. 7448, 2001 WL 930248, at *4 (S.D.N.Y.
Aug. 16, 2001) (finding willful infringement where defendant was “a multi-national publishing
company that publishes over 200 magazine releases a year” and “[a]s such ... is or should be
familiar with copyright law and particularly with the general practices of securing permission
before reproducing copyrighted works”).


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and designs market curricula, and operates a Facebook “business page [which] has engagement

in the millions.” Ms. Karl is also “an experienced newspaper editor” and “well-versed in social

media.” [SOF ¶ 5]

       Given the wide-ranging breadth and depth of Defendant’s involvement in exploiting

copyrighted materials, a strong inference can be drawn that Defendant is sophisticated about

copyright law and licensing procedures. See Friedman, 833 F.3d at 1188 (“a reasonable jury

could certainly conclude that Live Nation had knowledge that photographs are often

copyrighted”). Accordingly, not unlike LiveNation in the Friedman case, or Buzzfeed in the

Mango case, Defendant must be charged with the utmost knowledge of U.S. copyright law,

including applicable provisions of the DMCA.


                                        CONCLUSION

       For the foregoing reasons, Defendant’s motion for summary judgment should be

DENIED. Further the Court should award attorneys’ fees and costs.

                                                            Respectfully submitted:

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